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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


CURLING PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION IN
     LIMINE TO PRECLUDE UNNECESSARY AND IMPROPER
  EXAMINATION OF WITNESSES AND FOR PROTECTIVE ORDER

       In their final witness list filed Friday, September 4, 2020, State Defendants

indicated they intend to call Plaintiffs Donna Curling, Donna Price, and Jeffrey

Schoenberg (the “Curling Plaintiffs”) and non-party Louis M. Franzoni, Jr. as

witnesses at the scheduled September 10-11, 2020 evidentiary hearing on Plaintiffs’

Motions for Preliminary Injunction (Dkt. 785, 800, 809). Curling Plaintiffs are ready

and willing to sit for any examination that would be useful for the Court. But they

should not be subjected to intimidation, harassment, bullying, embarrassment, undue

burden, or any other improper purpose for examination at the hearing.

       Despite Curling Plaintiffs’ repeated requests that State Defendants identify

the purpose and topics for which they seek to call Mr. Franzoni and Curling

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Plaintiffs—whose testimony State Defendants do not discuss in either of their briefs

opposing the pending preliminary injunction motions—they have identified none.

Nor could they, because State Defendants themselves explicitly admit that

examining Mr. Franzoni and Curling Plaintiffs is “unnecessary” and would not “be

useful for the Court or the parties.” Tellingly, State Defendants have never sought

to examine any Plaintiff in any prior hearing. The Court should preclude State

Defendants from calling Curling Plaintiffs and Mr. Franzoni for improper purposes.

                            STATEMENT OF FACTS

       Plaintiff Donna Curling is a voter and Fulton County resident. Plaintiff Donna

Price is a voter and DeKalb County resident. Plaintiff Jefferey Schoenberg is a voter

and DeKalb County resident as well. Louis M. Franzoni (“Chip”) is a non-party

voter who is a realtor and served for four years on the DeKalb County school board.

He is an elector and resident of Fulton County who described his inability to cast his

vote using the BMD system in the June 2020 election. (Dkt. 785-6.)

       State Defendants filed their preliminary witness list on August 24, 2020. (Dkt.

806.) They explicitly conceded that “State Defendants do not believe that having

live witnesses will be useful for the Court or the parties.” (Id. at 1.) Despite this

concession, State Defendants nonetheless indicated they may call Curling Plaintiffs

and Mr. Franzoni at the upcoming hearing on the pending preliminary injunction


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motions. (Id. at 2.) They curiously identified no other witness, including their own

employees or experts or any other Plaintiff. (Id.) Rather, they specifically targeted

only Curling Plaintiffs and Mr. Franzoni, who provided a sworn declaration in

support of Curling Plaintiffs’ preliminary injunction motion. (Dkt. 785-6.)

       On September 2, 2020, after State Defendants filed their Opposition (Dkt.

821) and Curling Plaintiffs filed their Reply (Dkt. 855), Curling Plaintiffs’ counsel

emailed State Defendants’ counsel about this issue. (Ex. 1 at 4.) Curling Plaintiffs’

counsel expressed concern about the purpose for which State Defendants might call

them and Mr. Franzoni given the concession that any such examination would not

“be useful for the Court or the parties.” (Id. at 4.) To try to assuage this concern,

Curling Plaintiffs’ counsel asked State Defendants to confirm that any such

examination would be for a proper purpose.        Specifically, counsel asked State

Defendants to “please explain for each of [the witnesses] why that examination

would be useful for the Court (in direct contradiction to your stated position), what

specific topics you contend would be useful to cover in each of their examinations,

and how long each examination likely would take.” (Id. at 4.)

       State Defendants’ counsel responded promptly, within 45 minutes, but refused

to provide the information requested or to identify any purpose or topic for calling

Curling Plaintiffs or Mr. Franzoni. (Id. at 3.) State Defendants’ counsel would not


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even confirm that they would call Curling Plaintiffs and Mr. Franzoni for a proper

purpose. (Id.) Instead, he curiously responded that he needed to understand the

“basis” for Curling Plaintiffs’ concern simply to answer the question of whether

State Defendants would call them “for an ‘intimidating or harassing’ purpose.” (Id.)

       Curling Plaintiffs’ counsel promptly responded and again explained their

concern, given the lack of any purpose or topics provided by State Defendants for

calling them and the concession that live testimony from them would not “be useful

for the Court or the parties.” (Id. at 2.) State Defendants’ counsel responded within

eight minutes. (Id. at 1.) The response again failed to identify any scope or purpose

of the testimony, instead wrongly accusing counsel of using “another opportunity to

attack the State” and inexplicably claiming “it is nearly impossible to respond to

your email.” (Id.) State Defendants’ counsel also reiterated their position that “the

issue can be decided on the what [sic] has been submitted,” and yet insisted on

calling Curling Plaintiffs and Mr. Franzoni without explanation. (Id.) Perhaps most

disappointing, State Defendants’ counsel seemed to confirm that they are calling

witnesses only as some tit-for-tat retribution for Curling Plaintiffs seeking live

examination of important witnesses, stating: “If you want to drop your insistence on

witnesses to speak about relief that the Court has consistently indicated it is very

reluctant to give, we will gladly reconsider our position.” (Id. at 3 (emphasis


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added).) Indeed, the email seemed to imply that State Defendants are threatening to

call Curling Plaintiffs and Mr. Franzoni as leverage to try to force Curling Plaintiffs

to abandon live witnesses entirely at the hearing. Curling Plaintiffs’ assessment of

the need to call certain witnesses live at the hearing should have no bearing on State

Defendants’ own assessment of whether they need to do the same, which—again—

they repeatedly admit they do not.

       Rather than further exchange unproductive emails, Curling Plaintiffs waited

for State Defendants’ final witness list, which they hoped either would omit them

and Mr. Franzoni as admittedly not “useful for the Court or the parties” or would

specify a proper purpose and relevant topics for each of them and Mr. Franzoni.

Unfortunately, State Defendants did neither, leaving Curling Plaintiffs concerned.

       In their opposition and sur-reply to Curling Plaintiffs’ pending preliminary

injunction motion, State Defendants repeatedly emphasize that Curling Plaintiffs

have filed their fourth preliminary injunction motion and had three prior hearings

(of course, none of that has anything to do with the merits of the pending motion).

(Dkt. 821 at 1, 3, 30; Dkt. 865 at 7.) And they complain that Curling Plaintiffs have

never been examined in this litigation, as if that’s anyone’s doing but State

Defendants’. (Dkt. 821 at 6.) State Defendants omit the fact that they have never

once sought to examine Curling Plaintiffs in this case, instead evidently concluding


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for three prior preliminary injunction motions and three prior hearings that any such

examination was unnecessary and not useful. They offer no reason to reach a

different conclusion now and in fact explicitly admit that any such testimony is still

“unnecessary” and “not useful” at this stage of the case and that they are prepared to

forgo live witnesses if Plaintiffs would do the same.

                               LEGAL STANDARD

       The court may issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.           See Fed. R. Evid.

611(a)(3) (the court should exercise reasonable control over the mode and order of

examining witnesses and presenting evidence so as to protect witnesses from

harassment or undue embarrassment), Fed. R. Civ. P. 26(c)(1); see also Fed. R. Evid.

401, 403, Fed. R. Civ. P. 11(b). Protective Orders are appropriate where necessary

to protect a party or witness from annoyance, embarrassment, or oppression. See

Cobb v. City of Roswell, Ga., No. 1:11-cv-446-AT, 2011 WL 13262054, at *2 (N.D.

Ga. Oct. 18, 2011) (protective order granted against testimony not likely to be

necessary); Rocker v. City of Ocala, Fla., 355 F. App’x 312, 314–15 (11th Cir. 2009)

(protective order properly granted against testimony from witness not shown to have

unique relevant knowledge); New Sanitary Towel Supply, Inc. v. Consol. Laundries

Corp., 24 F.R.D. 186, 189 (S.D.N.Y. 1959) (examination not justified where it “can


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serve no useful purpose in furthering the defendants’ cause other than to afford an

opportunity to vex and harass an opposing litigant.”).

       The court has discretion to determine the parameters for oral testimony in a

preliminary injunction hearing, considering the need for speed and practicality as

well as accuracy and fairness. McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1313

(11th Cir. 1998). Oral testimony is typically required for disputed facts material to

the preliminary injunction issues. Id. at 1311-1312; see also J.M., by and through,

Lewis v. Crittendon, No. 1:18-cv-568-AT, 2018 WL 7080041 (N.D. Ga. Apr. 10,

2018) (excluding late-disclosed testimony of limited relevance at preliminary

injunction hearing); Transcon. Gas Pipe Line Co., LLC v. 6.04 Acres, More or Less,

Over Parcel(s) of Land of Approximately 1.2 Acres, More or Less, Situated in Land

Lot 1049, 910 F.3d 1130, 1170 (11th Cir. 2019) (district court has discretion on

request for preliminary injunction as to whether hearing testimony is needed for

credibility or facts in dispute).

                                    ARGUMENT

       State Defendants have repeatedly stated their belief that live witness

testimony is “unnecessary” and not “useful for the Court or the parties” regarding

Plaintiffs’ pending preliminary injunction motions. (Dkt. 806 at 1; Dkt. 861 at 1;

Ex. 1 at 3.) Nevertheless, State Defendants intend to call, among other witnesses,


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Plaintiffs Donna Curling, Donna Price, and Jeffrey Schoenberg and non-party Louis

M. Franzoni, Jr. at the hearing, which will begin in only two days. (Dkt. 861 at 2-

3.) These are irreconcilable positions given parties are not permitted to waste time

and judicial resources with witness examinations that are unnecessary and not useful.

State Defendants have not—and cannot—identify a need to call these four witnesses

live at the hearing, as they explicitly admit.

       First, despite having the opportunity to file two briefs opposing Plaintiffs’

preliminary injunction motions, State Defendants do not even mention Donna

Curling, Donna Price, Jeffrey Schoenberg, or Louis M. Franzoni, Jr. in their briefing

on the pending motions, except to generally characterize them as advocates for a

hand-marked paper ballot election system and against BMDs. (Dkt. 821 at 5.) This

is not surprising given that—as in 2018 and 2019—this Court’s preliminary

injunction assessment turns on the reliability of Georgia’s election system as

administered by Defendants. State Defendants themselves argue that the relevant

“factual issues” relate to “the security of the Dominion system,” voter complaints

from the June election that they produced in discovery, and “Georgia’s audit

process.” (Id. at 2-10.) Curling Plaintiffs and Mr. Franzoni are not experts in this

case and have no unique knowledge about those “factual issues” that State

Defendants contend are relevant for the upcoming hearing. As voters with only


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limited public access to the election system, they unsurprisingly have no unique

insight into the security vulnerabilities and the inadequate audit protocols that render

Georgia’s election system unconstitutional. Curling Plaintiffs understandably, and

rightly, rely on other witnesses who have the requisite knowledge and expertise, such

as Dr. Halderman (whom State Defendants will cross-examine) and State

Defendants’ own employees (who have disclosed serious vulnerabilities and other

constitutional deficiencies).

       Second, not only do State Defendants not discuss Curling Plaintiffs or Mr.

Franzoni in their pending briefs, they also do not address—much less rebut—the

specific allegations in their declarations at all. They do not dispute that each is a

registered voter in Georgia, has voted in prior elections in Georgia, intends to vote

in future elections in Georgia, believes the current BMD-based election system in

Georgia cannot reliably count his or her votes, and views being forced to vote via

absentee ballot rather than voting in person along with fellow Georgia voters is an

unfair and unlawful burden on their right to vote. Likewise, State Defendants do not

dispute the facts underlying the burdens Mr. Fanzoni and his wife suffered while

voting in June. Thus, cross-examination of Curling Plaintiffs and Mr. Franzoni at

the upcoming hearing—as State Defendants admit—would be “unnecessary” and

“not useful.” This is very different from the cross-examinations Plaintiffs intend to


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conduct at the hearing.     Plaintiffs have addressed each of State Defendants’

declarations in detail, disputing—and rebutting—many of the allegations. And this

Court may recall the extent of damning information that cross-examinations of State

Defendants’ witnesses have uncovered, such as ballot-building in personal homes,

Internet-facing removable media and telephone wires connected to election servers,

and testimony from State Defendants’ own experts indicting their election system,

including the current system.1 See, e.g., Curling v. Raffensperger, 397 F. Supp. 3d

1334, 1350-53 (N.D. Ga. 2019); (Dkt. 554, Shamos Dep. at 56:13-57:1, 57:13-21).

       Third, State Defendants emphasize that this is Curling Plaintiffs fourth

preliminary injunction motion and yet strangely complain that “no Plaintiff has ever

testified or sat for a deposition in this case.”2 (Dkt. 821 at 6.) This is not a reason

to examine them live at a preliminary injunction hearing.          In fact, this only

underscores what State Defendants themselves admit: that live testimony from

Curling Plaintiffs is neither necessary nor useful for the Court to decide preliminary

injunction issues in this case. State Defendants offer no reason to conclude that the


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  No doubt this is why they prefer the format of the March hearing where cross-
examination of their witnesses was not permitted. (Dkt. 861 at 2.)
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  This is a strange complaint because State Defendants themselves are solely
responsible for this fact, having chosen not to examine any Plaintiff at any point in
this case. It’s difficult to imagine a more nonsensical complaint from someone
than that something hasn’t happened only because that person was responsible to
make it happen and simply chose not to do it.
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pending (fourth) motion and the upcoming (third) hearing are somehow so different

from the prior preliminary motions and hearings in this case that suddenly they need

to call Curling Plaintiffs live at the hearing. Nor could they offer any such reason

given “State Defendants do not believe that having live witnesses will be useful for

the Court or the parties.”3 (Dkt. 806 at 1.)

       Fourth, and most telling, State Defendants have not identified any purpose or

topic for calling Curling Plaintiffs or Mr. Franzoni at the hearing. They have had

ample opportunity—and obligation—to do so, in their preliminary witness list, their

counsel’s emails where he was specifically asked for that information (twice), and

in their final witness list. This alone should be dispositive. State Defendants have

resorted to snark, evasion, and a vague claim about “rights to a fair hearing.” (Ex.

1 at 3.) But they acknowledge that their “rights to a fair hearing” never required or

warranted examining any Plaintiff at any prior hearing or for any prior preliminary

injunction motion. More importantly, the vague notion that a “fair hearing” requires



3
  In a footnote in their final witness list, State Defendants make passing reference
to Plaintiffs’ standing. (Dkt. 861 at 2 n.1.) But, State Defendants did not argue
standing in either of their briefs opposing Curling Plaintiffs’ pending injunction
motion. (Dkts. 821 and 865.) Perhaps this was because the Court already rejected
their standing arguments. (Dkt. 751 at 34-45 (denying State Defendants’ Motion
to Dismiss for lack of standing).) Regardless, given standing did not warrant any
current briefing, it certainly cannot warrant calling three Plaintiffs for live
testimony. Further, as a non-party, standing is not an issue for Mr. Franzoni.
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affirmatively calling Curling Plaintiffs and Mr. Franzoni live at the hearing directly

contradicts their argument that all live testimony is “unnecessary” and “not useful.”

These are irreconcilable positions.

       These circumstances give rise to a genuine and compelling concern about

State Defendants’ purpose for calling Curling Plaintiffs and Mr. Franzoni at the

hearing. State Defendants’ counsel wrongly dismissed this legitimate concern as

“another opportunity to attack the State.” (Ex. 1 at 1.) Not so. As explained in the

two emails he responded to, this concern logically flows from (i) State Defendants’

admission that all live testimony is “unnecessary” and “not useful” for deciding the

pending preliminary injunction motions, (ii) State Defendants refusal to identify the

purpose or topics for which they seek to call any of those four witnesses at the

hearing, and (iii) Curling Plaintiffs’ and Mr. Franzoni’s lack of unique or necessary

testimony for the disputes at issue in the currently pending motion. It’s perfectly

rational and appropriate to be concerned about why someone suddenly would seek

to do something they never sought to do before in the same circumstances on

multiple occasions and when they refuse to tell you why they seek to do it.

       Finally, as already noted, State Defendants devote much of their final witness

list to arguing that no live witnesses are needed at all, but they also make a claim

that is simply untrue—namely: “Plaintiffs’ replies offer essentially nothing that this


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Court has not already seen or heard in the other 860 docket entries in this case.”

(Dkt. 861 at 1.) Based upon this false claim, they argue that they “will demonstrate

the lack of substantive new evidence filed by both groups of Plaintiffs eliminates

any further need for the Court to spend judicial resources on witness testimony.”

(Id.) This is incredibly misleading. The reality is that Plaintiffs already have

provided this Court evidence of significant vulnerabilities that were not already in

the prior “docket entries in this case,” such as the undisputed fact that the QR codes

Georgia relies on to tabulate votes are not encrypted as State Defendants previously

claimed and represented in sworn testimony. (Dkt. 855-1, Halderman Decl. ¶¶ 37-

38.) Moreover, State Defendants are well aware that Plaintiffs are continuing to

develop evidence as quickly as possible, including the expedited examination they

and their experts are performing on the Dominion voting equipment this Court

ordered produced. So it simply is not true that Plaintiffs have provided this Court

with no new evidence and that no live witnesses are necessary or useful for the

Court.4




4
 State Defendants’ complaint about wasted time in prior preliminary injunction
hearings is misplaced given their own prior examinations about such topics as “the
Big Chicken” and where the sun sets in Michigan. (Dkt. 861 at 2.)
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                                  CONCLUSION

       Unwilling, or unable, to identify any proper purpose or relevant topics for live

examination of any of the Curling Plaintiffs or Mr. Franzoni at the upcoming hearing

only two days from now, the Court should exercise its discretion and preclude what

Curling Plaintiffs fear is an intention to harass, intimidate, embarrass, or unduly

burden them and Mr. Franzoni. By State Defendants’ own admission, any such

examination is “unnecessary” and “not useful for the Court or the parties.” Indeed,

these witnesses do not have unique knowledge of the specific issues in dispute at

this stage, unlike Plaintiffs’ experts and State Defendants’ witnesses.

       No doubt State Defendants will distort this motion as some effort to hide from

cross-examination. Nothing could be further from the truth. Curling Plaintiffs stand

ready for vigorous cross-examination at the appropriate time and place in this case.

As State Defendants acknowledge, the upcoming hearing is not the time or place and

would merely waste valuable judicial resources and unduly burden Curling Plaintiffs

and Mr. Franzoni.




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Dated: September 8, 2020              Respectfully submitted,

                                       /s/ David D. Cross
                                      David D. Cross (pro hac vice)
                                      John P. Carlin (pro hac vice)
                                      Lyle P. Hedgecock (pro hac vice)
                                      Mary G. Kaiser (pro hac vice)
                                      Robert W. Manoso (pro hac vice)
                                      MORRISON & FOERSTER LLP
                                      2000 Pennsylvania Avenue, NW
                                      Suite 6000
                                      Washington, DC 20006
                                      Telephone: (202) 887-1500
                                      DCross@mofo.com
                                      JCarlin@mofo.com
                                      LHedgecock@mofo.com
                                      MKaiser@mofo.com
                                      RManoso@mofo.com

                                      Halsey G. Knapp, Jr.
                                      GA Bar No. 425320
                                      Adam M. Sparks
                                      GA Bar No. 341578
                                      KREVOLIN & HORST, LLC
                                      1201 West Peachtree Street, NW
                                      Suite 3250
                                      Atlanta, GA 30309
                                      HKnapp@khlawfirm.com
                                      Sparks@khlawfirm.com

                                      Counsel for Plaintiffs Donna Curling,
                                      Donna Price & Jeffrey Schoenberg




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 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

                      CERTIFICATE OF COMPLIANCE

       Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                             /s/ David D. Cross
                                             David D. Cross




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 Plaintiffs,
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 BRAD RAFFENSPERGER , ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2020, a copy of the foregoing

CURLING PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION IN

LIMINE       TO      PRECLUDE          UNNECESSARY             AND       IMPROPER

EXAMINATION OF WITNESSES AND FOR PROTECTIVE ORDER was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ David D. Cross
                                               David D. Cross




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